Case 18-68449-lrc                Doc 18   Filed 11/20/18 Entered 11/20/18 13:31:32            Desc Main
                                          Document      Page 1 of 4


                           I THE U ITED STATES BA KRUPTC C URT
                         RTHER DISTRICT     E R IA AT A TA DI ISI

I RE                                                              CASE

E   IS       I T         AR ER                                    CHAPTER

                   D                                               UD E H           RAB E ISA RITCHE
                                                                  CRAI

                                     B ECTI    T C        IR ATI              P A

         C     ES                D        B               T       C                                   S

ABS C              I I       T            HE                  P               C           S               HE

                                 C                                            S       D

                                                  D                   A

                                              P

                   C

                                                                                                  T



                                                                                              D

                                                                      C                           C



                   C                                                      D



             HERE        RE C                         C                                   P

                         C
Case 18-68449-lrc   Doc 18   Filed 11/20/18 Entered 11/20/18 13:31:32     Desc Main
                             Document      Page 2 of 4




                                            B    K              B
                                            A
                                            A           P       P
                                                    P           C
                                                P           R       E S
                                            A           A
                                            P

                                            E
Case 18-68449-lrc              Doc 18       Filed 11/20/18 Entered 11/20/18 13:31:32        Desc Main
                                            Document      Page 3 of 4


                               UNITE STATES AN              U T     U T
                    N       T E N IST I T   E               IA AT ANTA I ISI N

I RE                                                        C                     RC

E        IS    I T           AR ER                          C

                        D


                                            E TI I ATE      SE   I E

     I                                                                        I

                                                                                                    I

                            B ECTI      T    C    IR ATI         P A   A D        TI    T    DIS ISS

CASE



T

H             P S


               D


T                                                    US

E
                        D
                A


I E TI              UN E       ENA T             E   U     T AT T E       E       IN   IS T UE
AN                  E T
Case 18-68449-lrc   Doc 18   Filed 11/20/18 Entered 11/20/18 13:31:32   Desc Main
                             Document      Page 4 of 4


D                                     S                       zalez
                                      P              E ISSA        ZALEZ
                                      A         A       P       P
                                                      P         C
                                                P        R        E S
                                                A        A
                                      P
